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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §             CRIMINAL NO. H-04-0150-06
                                                 §
MARVIN ARTURO                                    §               (Civil Action No. H-07-4582)
PERALTA-RAMIREZ                                  §


                              MEMORANDUM AND ORDER

         Pending before the Court is a motion filed by the defendant, Marvin Arturo Peralta-

Ramirez (“Peralta-Ramirez”), to vacate, set aside, or correct sentence under 28 U.S.C.

§ 2255. (Doc. # 437). The Government has answered with a motion to dismiss, arguing that

Peralta-Ramirez is not entitled to relief under § 2255. (Doc. # 450). Peralta-Ramirez has

filed a reply. (Doc. # 451). The Court has carefully reviewed all pertinent matters in this

criminal case. Based upon this review, the Court’s clear recollection of the relevant

proceedings, and application of governing legal authorities, the Court denies the defendant’s

motion and dismisses the corresponding civil action (No. H-07-4582) for reasons set forth

below.

I.       BACKGROUND AND PROCEDURAL HISTORY

         On April 15, 2004, a federal grand jury in this district returned a four-count indictment

against Peralta-Ramirez and six others, charging them with conspiracy and assorted offenses

stemming from an alien smuggling venture in which several foreign nationals were held

against their will for ransom. That indictment charged the defendants with conspiracy to
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conceal, harbor, shield, and transport illegal aliens within the United States for commercial

advantage and private financial gain in violation of 8 U.S.C. §§ 1324(a)(1)(A)–(B) (counts

one, two, and three). The indictment further charged the defendants with conspiracy to

commit hostage taking by seizing, detaining, and threatening the illegal aliens in order to

compel others to pay a sum of money — i.e., a ransom — as an explicit and implicit

condition for their release in violation of 18 U.S.C. § 1203(a) and 18 U.S.C. § 2 (count four).

On September 2, 2004, the grand jury returned a superseding indictment against Peralta-

Ramirez and his co-defendants, adding charges of aiding and abetting a hostage taking for

ransom in violation of 18 U.S.C. § 1203(a) and 18 U.S.C. § 2 (count five).

       On October 25, 2004, a jury found Peralta-Ramirez and his co-defendants guilty as

charged on all five counts alleged in the superseding indictment. The jury subsequently

returned a supplemental verdict as to counts one, two, and three, finding beyond a reasonable

doubt that the offense involved between six and twenty-four aliens and that a firearm was

brandished or otherwise used and possessed during the offense. As to counts four and five,

the jury found beyond a reasonable doubt that offense involved a demand for ransom and the

use of a dangerous weapon in connection with the crime of hostage taking.1

       After the jury returned its verdict, the Court instructed the Probation Department to

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       See Supplemental Verdict Form. (Doc. # 177). The Court requested supplemental findings
       by the jury in an abundance of caution in light of the Supreme Court’s decisions in Apprendi
       v. New Jersey, 530 U.S. 466 (2000), and Blakely v. Washington, 542 U.S. 296 (2004). Only
       shortly before Peralta-Ramirez’s sentencing in this case, the Supreme Court decided United
       States v. Booker, 543 U.S. 220 (2005), which held that the United States Sentencing
       Guidelines were advisory and that the Court, rather than a jury, was to decide sentencing
       issues after a trial.

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prepare a presentence report (“PSR”) for the purpose of determining punishment under the

United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”). Because Peralta-Ramirez

was convicted of multiple counts of related offenses arising under different statutes, his

sentence was determined using the grouping provisions found in § 3D1.2 of the Guildelines.

Under § 3D1.2, the offense level for the most serious of the counts among the group, i.e.,

the count resulting in the highest offense level, determines the relevant Guideline base

offense level.

       The most serious count of conviction in Peralta-Ramirez’s case was count four, in

which he was convicted of conspiracy to commit hostage taking in violation of 18 U.S.C.

§ 1203(a). Using the relevant Guidelines provision for hostage-taking offenses, § 2A4.1, the

Probation Department determined that Peralta-Ramirez’s base offense level was 32. Because

the jury found beyond a reasonable doubt that a demand for ransom was made during the

commission of the offense, the Probation Department recommended a 6-level increase,

pursuant to § 2A4.1(b)(1) of the Guidelines. In addition, the Probation Department

recommended an additional 2-level increase under § 2A4.1(b)(3) because the jury also found

that a dangerous weapon was used in connection with the offense. Because Peralta-Ramirez

had no criminal history points, his base offense level was calculated at 40, which called for

a range of imprisonment from 292 to 365 months.2 After considering all of the parties’

arguments, the Court sentenced Peralta-Ramirez at the lowest end of the applicable



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       See Final Presentence Investigation Report (Doc. # 235).

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Guidelines range to serve a total of 292 months in prison.

        On direct appeal, Peralta-Ramirez challenged the sufficiency of the evidence for his

conviction for hostage-taking as outlined in counts four and five of the superseding

indictment. The Fifth Circuit rejected all of his claims and affirmed the conviction and

sentence in a joint appeal. See United States v. Ibarra-Zelaya, 465 F.3d 596 (5th Cir. 2006).

Subsequently, the United States Supreme Court denied Peralta-Ramirez’s petition for a writ

of certiorari. See Peralta-Ramirez v. United States, — U.S. —, 127 S. Ct. 992 (2007).

        Peralta-Ramirez now argues that he is entitled to relief from his conviction and

sentence under 28 U.S.C. § 2255 for the following reasons: (1) he was denied effective

assistance of counsel in connection with his trial and sentencing; (2) he was denied due

process in the form of a downward departure in sentence under the “Fast Track Program”;

(3) the government presented evidence at trial in violation of the Confrontation Clause; and

(4) his conviction was obtained in violation of the Speedy Trial Act, 18 U.S.C. § 3282. The

government has filed a motion to dismiss, arguing that Peralta-Ramirez is not entitled to

relief. The parties’ contentions are discussed below under the governing standard of review.

II.     STANDARD OF REVIEW

        To obtain collateral relief pursuant to 28 U.S.C. § 2255, a defendant “must clear a

significantly higher hurdle” than the standard that would exist on direct appeal. United States

v. Frady, 456 U.S. 152, 166 (1982). “Following a conviction and exhaustion or waiver of

the right to direct appeal, [courts] presume a defendant stands fairly and finally convicted.”

United States v. Cervantes, 132 F.3d 1106, 1109 (5th Cir. 1998). “As a result, review of

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convictions under [§] 2255 ordinarily is limited to questions of constitutional or jurisdictional

magnitude, which may not be raised for the first time on collateral review without a showing

of cause and prejudice.” Frady, 456 U.S. at 166. To establish “cause,” a defendant must

show that some external impediment prevented him from raising his claim on direct appeal.

See United States v. Shaid, 937 F.2d 228, 233 (5th Cir. 1991) (quoting Frady, 456 U.S. at

170). In order to establish “prejudice,” the defendant must demonstrate “an actual and

substantial disadvantage,” such that the integrity of the entire underlying proceeding was

infected with “error of constitutional dimension.” Id.

       “Other types of error may not be raised in a collateral attack, unless the defendant

demonstrates that ‘the error could not have been raised on direct appeal, and if condoned,

would result in a complete miscarriage of justice.’” United States v. Pierce, 959 F.2d 1297,

1301 (5th Cir. 1992) (quoting Shaid, 937 F.2d at 232 n.7). “If the defendant does not meet

this burden . . . , he is procedurally barred from attacking his conviction.” United States v.

Drobny, 955 F.2d 990, 995 (5th Cir. 1992). Importantly, however, this procedural bar does

not apply to claims that could not have been raised on direct appeal, such as those for

ineffective assistance of counsel, “since no opportunity existed [before the district court] to

develop the record on the merits of the allegations.” United States v. Higdon, 832 F.2d 312,

313–14 (5th Cir. 1987); see also Massaro v. United States, 538 U.S. 500 (2003).

       Peralta-Ramirez proceeds pro se in this matter. “‘[A] pro se complaint, however

inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by

lawyers.’” Erickson v. Pardus, — U.S. —, 127 S. Ct. 2197, 2200 (2007) (quoting Estelle v.

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Gamble, 429 U.S. 97, 106 (1976)); Haines v. Kerner, 404 U.S. 519, 521 (1972); Bledsue v.

Johnson, 188 F.3d 250, 255 (5th Cir. 1999). Thus, pro se pleadings are entitled to a liberal

construction that includes all reasonable inferences which can be drawn from them. See

Haines, 404 U.S. at 521; see also United States v. Pena, 122 F.3d 3, 4 (5th Cir. 1997).

However, pro se litigants are still required to provide sufficient facts in support of their

claims. United States v. Pineda, 988 F.2d 22, 23 (5th Cir. 1993). Even under the rule of

liberal construction, “mere conclusory allegations on a critical issue are insufficient to raise

a constitutional issue.” Id. (citing United States v. Woods, 870 F.2d 285, 288 n.3 (5th Cir.

1989)); see also Ross v. Estelle, 694 F.2d 1008, 1011 (5th Cir. 1983) (“Absent evidence in

the record, a court cannot consider a habeas petitioner’s bald assertions on a critical issue in

his pro se petition . . . to be of probative evidentiary value.”).

III.     DISCUSSION

         A.     Ineffective Assistance of Counsel

         Peralta-Ramirez argues that he is entitled to relief from his conviction because he was

denied effective assistance of counsel at his trial, sentencing, and direct appeal. Claims for

ineffective assistance of counsel are analyzed under the well-settled standard set forth in

Strickland v. Washington, 466 U.S. 668 (1984). To prevail under the Strickland standard,

a defendant must demonstrate both constitutionally deficient performance by counsel and

actual prejudice as a result of the alleged deficience. See Williams v. Taylor, 529 U.S. 390,

390–91 (2000); Ogan v. Cockrell, 297 F.3d 349, 360 (5th Cir. 2002). “Unless a defendant

makes both showings, it cannot be said that the conviction . . . resulted from a breakdown in

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the adversary process that rendered the result unreliable.” Strickland, 466 U.S. at 687.

       Counsel’s performance must fall below an objective standard of reasonableness to be

constitutionally deficient. United States v. Molina-Uribe, 429 F.3d 514, 518 (5th Cir. 2005)

(citing Strickland, 466 U.S. at 687–688). Judicial scrutiny of counsel’s performance must

be “highly deferential,” and a reviewing court must make every effort “to eliminate the

distorting effects of hindsight, to reconstruct the circumstances of counsel’s challenged

conduct, and to evaluate the conduct from counsel’s perspective at the time.” There is a

“strong presumption” that “trial counsel rendered adequate assistance and that the challenged

conduct was the product of a reasoned trial strategy.” West v. Johnson, 92 F.3d 1385, 1400

(5th Cir. 1996) (citing Wilkerson v. Collins, 950 F.2d 1054, 1065 (5th Cir. 1993)).

       Even if defense counsel committed substantial error, a defendant must still

demonstrate actual prejudice as a result of his counsel’s deficient performance. Performance

is prejudicial only if “there is reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.” United States v. Harris, 408

F.3d 186, 189 (5th Cir. 2005). A “reasonable probability” is a probability sufficient to

undermine confidence in the reliability of the verdict. See Leal v. Dretke, 428 F.3d 543, 548

(5th Cir. 2005) (citing Little v. Johnson, 162 F.3d 855, 860–61 (5th Cir. 1998)).

       In this case, Peralta-Ramirez was represented at trial and on direct appeal by local

criminal defense attorney Yolanda Coroy. Peralta-Ramirez raises numerous claims against

Coroy, alleging that she was deficient for the following reasons: (1) to conduct an adequate

investigation or to otherwise prepare for trial; (2) to properly cross-examine a witness to

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establish that he was “never armed” during the commission of the offense; (3) to raise an

objection under the Confrontation Clause to out-of-court statements allegedly introduced at

trial; (4) to object to “multiplicity of counts” in the indictment; (5) to request a psychiatric

evaluation; and (6) to seek a plea agreement before trial. In addition, Peralta-Ramirez

complains further that Coroy failed to object to sentencing enhancements found in the PSR

and to withdraw as his appointed counsel for purposes of the appeal. The government has

provided an affidavit from Coroy refuting each of these allegations, which are addressed

briefly below.

              1.      Failure to Conduct an Adequate Investigation

       Peralta-Ramirez complains that Coroy was deficient because she failed to interview

all of the alleged hostages or to otherwise prepare adequately for trial. In her affidavit to the

Court, Coroy insists that she spent “numerous hours in the jail facility where the aliens were

detained interviewing said alien witnesses in preparation for trial.” (Doc. # 449, Affidavit).

Coroy reports that she also participated in depositions of the witnesses, which lasted several

hours over a period of three days. (Id.). With regard to her pre-trial preparation, Coroy

reports further that she “expended numerous hours on [Peralta-Ramirez’s] case, interviewing

witnesses, researching the law, developing strategy, preparing trial notebooks, interviewing

[Peralta-Ramirez] several times at the detention center, trying to locate character witnesses,

driving to his place of employment in Houston to locate his employer, and reviewing the

[g]overnment’s evidence to prepare for trial.” (Id.).

       A defendant who alleges a failure to investigate or prepare on the part of his counsel

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must state with specificity what the investigation would have revealed and how it would have

benefitted his defense. See United States v. Glinsey, 209 F.3d 386, 393 (5th Cir.) (citing

United States v. Green, 882 F.2d 999, 1003 (5th Cir. 1989)). Peralta-Ramirez, who provides

no facts in support of his claim, fails to indicate what else his counsel could have done to

prepare or to show how additional investigation would have changed the result. His

unsupported allegations of ineffective assistance are insufficient to establish deficient

performance or actual prejudice. See United States v. Demik, 489 F.3d 644, 646 (5th Cir.)

(stating that “conclusional allegations” and general claims are insufficient to establish

ineffective assistance or to require an evidentiary hearing on that issue), cert. denied, — U.S.

—, 128 S. Ct. 456 (2007); see also United States v. Holmes, 406 F.3d 337, 361 (5th Cir.

2005) (“Mere conclusory allegations in support of a claim of ineffective assistance of counsel

are insufficient to raise a constitutional issue.”) (quoting Green v. Johnson, 160 F.3d 1029,

1042 (5th Cir. 1998)). Accordingly, Peralta-Ramirez fails to demonstrate that he is entitled

to relief under 28 U.S.C. § 2255 on this issue.

              2.      Failure to Properly Cross-Examine a Witness

       Peralta-Ramirez complains that Coroy was deficient because she failed to properly

cross-examine a witness to establish that he was “never armed” during the commission of the

offense.   In response to this allegation, Coroy notes that she cross-examined the

government’s main witness on this issue, Sergeant Jay R. Chase, regarding the number of

weapons that were found at the scene where the smuggled aliens were being held for ransom.

(Doc. # 449, Affidavit). The record shows that Sergeant Chase testified that several firearms

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were recovered from that location. (Court Reporter’s Record, Oct. 13, 2004, at 278). The

record also reflects that, on cross-examination by Coroy, Sergeant Chase confirmed that no

weapons were found in Peralta-Ramirez’s possession. (Court Reporter’s Record, Oct. 14,

2004, at 72).

       Peralta-Ramirez does not suggest what other questions Coroy could have asked. After

reviewing the record, the Court is not persuaded that Coroy was deficient for failing to ask

valid questions on cross-examination or that Peralta-Ramirez was prejudiced by her trial

strategy. See Strickland, 466 U.S. at 689 (Courts must “indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.”).

Absent a showing of deficient performance and actual prejudice, Peralta-Ramirez fails to

demonstrate that he is entitled to relief under 28 U.S.C. § 2255 on this issue.

                3.   Failure to Raise a Confrontation Clause Objection

       Peralta-Ramirez complains that Coroy was deficient because she failed to raise an

objection under the Confrontation Clause to out-of-court statements that were allegedly

introduced during trial. The Confrontation Clause found in the Sixth Amendment to the

United States Constitution guarantees that “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to be confronted with the witnesses against him.” U.S. CONST. amend. VI.

The right to confrontation bars the “admission of testimonial statements of a witness who did

not appear at trial unless he was unavailable to testify” and the defendant had “a prior

opportunity for cross-examination.” Crawford v. Washington, 541 U.S. 36, 53-54 (2004).

Thus, the Sixth Amendment guarantees a defendant’s right to rebut the government’s

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evidence through cross-examination. See Kittelson v. Dretke, 426 F.3d 306, 318 (5th Cir.

2005) (citing Webb v. Texas, 409 U.S. 95 (1972) (per curiam) (citations omitted)).

         Coroy notes that only one out-of-court statement was introduced at trial. (Doc. # 449,

Affidavit). That statement was made by government witness Miguel Pacheco-Manchame,

who was one of the smuggled aliens held for ransom by the defendants. Coroy notes that

Pacheco-Manchame testified as a witness and that she cross-examined him at length

regarding his out-of-court statement. (Id.). Thus, Coroy explains that she did not object

because the statement was not used in violation of the Confrontation Clause. (Id.).

         The record confirms that Pacheco-Manchame testified and that Coroy had ample

opportunity to cross-examine him regarding the contents of his statement. (Court Reporter’s

Record, Oct. 18, 2004, at 25-42).         Based on this record, Peralta-Ramirez does not

demonstrate that a violation of the Confrontation Clause occurred or that his counsel had a

valid objection to make. Absent a showing that counsel failed to raise a meritorious

objection and that the outcome would have been different, the defendant fails to demonstrate

deficient performance or actual prejudice. See Parr v. Quarterman, 472 F.3d 245, 256 (5th

Cir. 2006) (holding that counsel was not deficient in failing to present a meritless argument)

(citation omitted). Because Peralta-Ramirez has failed to demonstrate deficient performance

or actual prejudice, he fails to show that he is entitled to relief under 28 U.S.C. § 2255 on this

issue.

                4.     Failure to Object to the Indictment

         Peralta-Ramirez complains that Coroy was deficient because she failed to object to

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the “multiplicity of counts” in the indictment. Peralta-Ramirez does not provide any specific

facts in support of this allegation. He does not show that the indictment, which alleged five

separate and distinct prohibited acts, was defective or that his counsel had a valid objection

to make. See United States v. Planck, 493 F.3d 501, 503 (5th Cir. 2007) (“In deciding

whether an indictment is multiplicitous, [courts] look to whether separate and distinct

prohibited acts, made punishable by law, have been committed.”). Accordingly, Peralta-

Ramirez fails to demonstrate that he is entitled to relief under 28 U.S.C. § 2255 on this issue.

              5.      Failure to Request a Psychiatric Evaluation

       Peralta-Ramirez complains that Coroy was deficient because she failed to request a

psychiatric evaluation. In response, Coroy explains that she did not request such an

evaluation because Peralta-Ramirez “never exhibited signs that gave [her] any belief,

reasonable or otherwise, that [Peralta-Ramirez] may have been suffering from a mental

disease or defect rendering him mentally incompetent to the extent that he was unable to

understand the nature and consequences of the proceedings against him or to assist properly

in his defense.” (Doc. # 449, Affidavit).

       In support of this claim, Peralta-Ramirez notes that he had a “traumatic childhood in

Honduras and that he was under duress and extreme pressure” because he was the youngest

defendant in this case.3 These allegations do not show that Peralta-Ramirez suffered from

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       In his reply to the government’s motion to dismiss, Peralta-Ramirez alleges for the first time
       that his counsel was deficient for failing to file a motion to sever his trial from the older,
       more culpable defendants in this case. (Doc. # 451, at 5). By not including this allegation
       in his motion for relief under 28 U.S.C. § 2255, Peralta-Ramirez has failed to present this
                                                                                        (continued...)

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a mental disease or defect of the type that warranted a psychiatric evaluation. See 18 U.S.C.

§ 4241(a) (governing psychiatric or psychological evaluations for a defendant who may

presently be suffering from a mental disease or defect rendering him mentally incompetent

to the extent that he is unable to understand the nature and consequences of the proceedings

or to assist properly in his defense). The record reflects that counsel raised all of the factors

referenced by Peralta-Ramirez in a written sentencing memorandum in an effort to reduce

her client’s sentence. (Doc. # 204, at 5-9). Thus, Peralta-Ramirez does not demonstrate that

his counsel was deficient or that he was actually prejudiced by the alleged failure to seek a

psychiatric evaluation. Accordingly, Peralta-Ramirez fails to demonstrate that he is entitled

to relief under 28 U.S.C. § 2255 on this issue.

               6.      Failure to Seek a Plea Agreement

       Peralta-Ramirez complains that Coroy was deficient because she failed to seek a plea

agreement with the government. Coroy replies that the government informally offered

Peralta-Ramirez the opportunity to cooperate in exchange for a negotiated plea agreement.

(Doc. # 449, Affidavit). Peralta-Ramirez, however, “refused to enter into discussions or seek

a plea and wanted, instead, to proceed to trial.” (Id.). Coroy notes that it is her practice to

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       (...continued)
       claim properly and the Court need not consider it. Alternatively, the claim is without merit
       because Peralta-Ramirez does not allege or show that he asked his counsel to request a
       severance. Further, Peralta-Ramirez does not allege facts showing that he was entitled to a
       severance under the circumstances. See, e.g., Zafiro v. United States, 506 U.S. 534, 537
       (1993) (noting that “[t]here is a preference in the federal system for joint trials of defendants
       who are indicted together,” particularly in conspiracy cases). Therefore, he does not
       demonstrate that his attorney was deficient or that he was actually prejudiced by the alleged
       failure to file such a motion.

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defer all “decisions regarding trial or plea completely to [her] clients” and that, consistent

with this practice, she presented Peralta-Ramirez with a generic form document explaining

§ 5K1 of the Sentencing Guidelines, which affords the possibility of a downward departure

for acceptance of responsibility by pleading guilty and providing substantial assistance to the

government. (Id.).

       Peralta-Ramirez does not allege facts showing that he wanted to plead guilty rather

than go to trial. His conclusory allegations are not sufficient to establish that he received

ineffective-assistance or to demonstrate a constitutional violation. See Demik, 489 F.3d at

646. Accordingly, Peralta-Ramirez fails to demonstrate that he is entitled to relief under 28

U.S.C. § 2255 on this issue.

              7.      Failure to Object to the PSR

       Peralta-Ramirez complains that Coroy was deficient because she failed to object to

sentencing enhancements found in the PSR or to present evidence for purposes of sentencing

under the factors listed at 18 U.S.C. § 3553(a).4 Coroy reports that she filed objections to the

PSR along with a sentencing memorandum and that she argued the relevant factors for the

Court’s consideration at the sentencing hearing. (Doc. # 449, Affidavit). The record

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       In addition to considering “the nature and circumstances of the offense and the history and
       characteristics of the defendant,” 18 U.S.C. § 3553(a) requires that a district court shall
       impose a sentence “sufficient but not greater than necessary” to comply with several other
       enumerated factors, including the need for the sentence imposed “(A) to reflect the
       seriousness of the offense, to promote respect for the law, and to provide just punishment for
       the offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect the public
       from further crimes of the defendant; and (D) to provide the defendant with needed
       educational or vocational training, medical care, or other correctional treatment in the most
       effective manner[.]” 18 U.S.C. § 3553(a)(2).

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confirms that Coroy filed objections to the PSR and a separate memorandum in support of

her request for a downward departure in sentence, which included briefing on the factors

found at 18 U.S.C. § 3553(a). (Docs. # 196, # 204). The record also shows that Coroy

referenced the relevant factors found at § 3553(a) during the sentencing hearing. (Doc.

# 334).

       Peralta fails to show that his counsel failed to raise a particular objection or argument

in connection with his sentencing proceeding and he does not otherwise demonstrate that the

sentence was imposed in error as a result of any deficiency on his counsel’s part. Absent a

showing that counsel failed to raise a meritorious objection and that the outcome would have

been different, the petitioner fails to demonstrate deficient performance or actual prejudice.

See Parr, 472 F.3d at 256. Accordingly, Peralta-Ramirez fails to demonstrate that he is

entitled to relief under 28 U.S.C. § 2255 on this issue.

              8.     Failure to Withdraw as Counsel on Direct Appeal

       Peralta-Ramirez complains that Coroy was deficient because she failed to withdraw

as his appointed counsel for purposes of the appeal. Coroy explains that she did not file a

motion to withdraw because she “never received notice from [Peralta-Ramirez] that he either

‘wanted a different lawyer’ for the appeal or that he wanted me to withdraw.” (Doc. # 449,

Affidavit).

       The record does not contain any written request or other similar correspondence from

Peralta-Ramirez asking the Court to appoint a different attorney for his appeal. Accordingly,

Peralta-Ramirez fails to show that Coroy was deficient for failing to withdraw. Likewise,

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for reasons discussed further below, Peralta-Ramirez does not establish that he was

prejudiced or that he was otherwise denied effective assistance of counsel on appeal. See

Smith v. Murray, 477 U.S. 527, 535-36 (1986) (applying Strickland to a claim of ineffective

assistance of counsel on appeal). In that respect, Peralta-Ramirez fails to show that his

appellate counsel was objectively unreasonable in failing to find arguable issues to appeal

— that is, that counsel unreasonably failed to discover non-frivolous issues and raise them.

Smith v. Robbins, 528 U.S. 259, 285 (2000). He further fails to demonstrate a “reasonable

probability” that, but for his counsel’s deficient performance, “he would have prevailed on

his appeal.” Id. Absent a showing of deficient performance or actual prejudice, Peralta-

Ramirez fails to articulate a valid claim for ineffective assistance of counsel on appeal or to

show that he is entitled to relief under 28 U.S.C. § 2255 on this issue.

       B.     Remaining Claims — Procedural Default

       In addition to his claims of ineffective-assistance, Peralta-Ramirez alleges that his

sentence violates due process, that the government presented evidence in violation of the

Confrontation Clause, and that conviction was obtained in violation of the Speedy Trial Act.

The government correctly notes that all of these remaining claims are barred by the doctrine

of procedural default as the result of his failure to raise these claims on direct appeal.

       Under the doctrine of procedural default, a § 2255 movant who fails to raise a

constitutional or jurisdictional issue on direct appeal waives the issue for purposes of

collateral review. See United States v. Willis, 273 F.3d 592, 595 (5th Cir. 2001) (citing

United States v. Kallestad, 236 F.3d 225, 227 (5th Cir. 2000)). When a defendant has

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procedurally defaulted a challenge by failing to raise error properly on direct appeal, the

claim may be raised in a § 2255 motion only if the defendant can first demonstrate (1) cause

and prejudice, or (2) that he is “actually innocent” of the crime for which he was convicted.

See Bousley v. United States, 523 U.S. 614, 622 (1998).

         Peralta-Ramirez does not show that he is actually innocent and the record refutes any

such claim. In an effort to establish cause, Peralta-Ramirez blames his appellate attorney for

failing to present the above-referenced claims on appeal. Although ineffective assistance of

counsel can constitute cause for a procedural default, “[n]ot just any deficiency will do . . . .”

Edwards v. Carpenter, 529 U.S. 446, 451 (2000). “[T]he assistance must have been so

ineffective as to violate the Federal Constitution.” Id. For reasons discussed further below,

Peralta-Ramirez fails to show that his defaulted claims have merit. Accordingly, he does not

demonstrate that his counsel was ineffective for failing to raise these claims on direct appeal.

See Smith v. Robbins, 528 U.S. 259, 285 (2000). More importantly, he does not demonstrate

the requisite cause or actual prejudice necessary to excuse his procedural default. As a result

of his procedural default, Peralta-Ramirez cannot show that he is entitled to relief under 28

U.S.C. § 2255 on any of his remaining claims, the merits of which are examined briefly

below.

                1.     Peralta-Ramirez’s Due Process Claim is Without Merit

         Peralta-Ramirez alleges he was denied due process at sentencing because, as an alien

subject to deportation, he was not given a 4-level downward departure under the “Fast Track

Program” or a 2-level downward departure under a Memorandum signed by the Attorney

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General on April 21, 1995, which reportedly authorized a reduction in sentence for

defendants willing to stipulate to an “uncontested deportation.”5 As noted above, this claim

is procedurally barred because Peralta-Ramirez failed to present this issue on direct appeal.

Alternatively, this claim lacks merit.

       Peralta-Ramirez does not show that he was eligible for the downward departures that

he seeks. First, as to his contention that he should be afforded relief under the “Fast Track

Program,” Peralta-Ramirez misapprehends the purpose of that program, which is to speed

up the adjudication of certain non-violent offenses. See United States v. Gomez-Herrera, 523

F.3d 554, 560 (5th Cir. 2008). The offense in count four was a violent offense and, therefore,

the Fast Track Program was inapplicable to Peralta-Ramirez. Further, in exchange for

sentencing concessions, a defendant eligible for a reduced sentence under the Fast Track

Program agrees to, inter alia, “expedited disposition, waiver of pre-trial motions by the

defendant, waiver of appeal, and waiver of the right to habeas corpus.” Id. at 561. “Fast

track disposition is generally commenced by an offer from the government to enter into a

plea agreement.” Id. In this case, Peralta-Ramirez proceeded to trial and he has pursued both

appellate and habeas relief. He fails to show that he is otherwise eligible for a reduced

sentence under the Fast Track Program.

       Peralta-Ramirez likewise fails to show that, prior to trial, he stipulated to an

uncontested deportation, making him potentially eligible for a reduced sentence based on the



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       Defendant’s Motion to Vacate, Set Aside, or Correct Sentence (Doc. # 437), at 6.

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United States Attorney General’s Memorandum of April 21, 1995. Accordingly, Peralta-

Ramirez fails to show that he was entitled to a reduction in sentence for this reason. It

follows that Peralta-Ramirez fails to show that his sentence was imposed in violation of his

right to due process.

              2.        Peralta-Ramirez Fails to Establish a Violation of the Sixth
                        Amendment Confrontation Clause

       Peralta-Ramirez complains further that the government violated his rights under the

Confrontation Clause of the Sixth Amendment because, while only three of the eleven

hostages testified at his trial, statements from all the victims were introduced and used

against him. As noted above, this claim is procedurally barred by Peralta-Ramirez’s failure

to raise this issue on direct appeal. Alternatively, for reasons discussed previously in

connection with Peralta-Ramirez’s ineffective-assistance claim, he fails to establish a

violation of the Confrontation Clause in this instance. In that respect, Peralta-Ramirez’s

contention that out-of-court statements from non-testifying witnesses were introduced and

used against him at trial is unsupported by the record. The only statement introduced into

evidence was that of Miguel Pacheco-Manchame. The record reflects that this statement was

used to impeach Pacheco-Manchame during cross-examination. This does not constitute a

Confrontation Clause violation.

       In a related allegation, Peralta-Ramirez complains that the government violated the

Confrontation Clause because certain victims were “immediately deported” to prevent them

from testifying in his favor. This allegation, which implicates the Sixth Amendment right


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to compulsory process, fails to demonstrate a constitutional violation in this instance.

       To establish a violation of the Sixth Amendment right to compulsory process under

these circumstances, a criminal defendant must make a “plausible showing that the testimony

of the deported witnesses would have been material and favorable to his defense, in ways not

merely cumulative to the testimony of available witnesses.” United States v. Perez, 217 F.3d

3223, 326 (5th Cir. 2000) (quoting United States v. Valenzuela-Bernal, 458 U.S. 858 (1982)).

The record reflects that Peralta-Ramirez’s counsel had an opportunity to interview all of the

material witnesses. (Doc. # 449, Affidavit). All of the aliens who were detained were made

available for depositions by the defendants’ counsel. Peralta-Ramirez fails to show that any

of these witnesses would have given favorable testimony if called at trial.6 Thus, Peralta-

Ramirez does not show that he was deprived of the ability to present favorable testimony

from these witnesses or that a constitutional violation occurred. See Perez, 217 F.3d at 326-

27. Accordingly, to the extent that this claim is not procedurally barred, Peralta-Ramirez

fails to show that he is entitled to relief under 28 U.S.C. § 2255.

              3.      Peralta-Ramirez Fails to Establish a Violation of the Speedy Trial
                      Act


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       Peralta-Ramirez fails to provide specific facts in support of his allegation that the
       government deprived him of “favorable” testimony by deporting material witnesses. Peralta-
       Ramirez has neither identified the missing witnesses nor articulated specific facts about
       what, if anything, these witnesses would have stated. Moreover, he does not show that their
       testimony would have altered the outcome of his case. The Fifth Circuit has emphasized that
       complaints of uncalled witnesses are not favored on collateral review “because allegations
       of what a witness would have testified are largely speculative.” Coble v. Quarterman, 496
       F.3d 430, 436 (5th Cir. 2007). Peralta-Ramirez’s conclusory assertion that the deported
       witnesses would have provided testimony that was favorable to his defense is not sufficient
       to establish a claim.

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       Finally, Peralta-Ramirez alleges violations of the Speedy Trial Act, 18 U.S.C.

§§ 3161–3174 and asserts that the Government impermissibly delayed bringing him to trial.7

As with his due process and Confrontation Clause claims, this claim is procedurally barred

as the result of Peralta-Ramirez’s failure to raise this issue prior to trial or on direct appeal.

Alternatively, this claim lacks merit.

       The Speedy Trial Act generally requires a trial to begin within seventy days of the

filing of an indictment. See 18 U.S.C. § 3161(c)(1). However, “the Act recognizes that

criminal cases vary widely and that there are valid reasons for greater delay in particular

cases.” Zedner v. United States, 547 U.S. 489, 499 (2006). Thus, the Act includes a long

and detailed list of periods of delay that are excluded when computing the time within which

a defendant’s trial must commence. See 18 U.S.C. § 3161(h). Among these are “delay

resulting from any pretrial motion,” 18 U.S.C. § 3161(h)(1)(F), “delay reasonably

attributable to any period . . . during which any proceeding concerning the defendant is



7
       Peralta-Ramirez asserts that “[t]he statute of limitations per 18 U.S.C. § 3282 was violated
       [sic]” when the superseding indictment was filed. See Defendant’s Motion under 28 U.S.C.
       § 2255 (Doc. # 437) at 9. This provision of the United States Code states:

               [N]o person shall be prosecuted, tried, or punished for any offense, not
               capital, unless the indictment is found or the information is instituted within
               five years next after such offense shall have been committed.

       18 U.S.C. § 3282(a). Because Peralta-Ramirez went to trial approximately seven months
       after the alien-smuggling incident at issue in this case, he does not establish a violation of
       the statute of limitations found at § 3282(a). Instead, Peralta-Ramirez appears to claim that
       his proceeding violated the Speedy Trial Act, codified at 18 U.S.C. § 3161(c)(1), which
       establishes a seventy-day period for commencement of trial. Thus, the Court construes this
       claim as alleging a violation of the Speedy Trial Act.

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actually under advisement by the court,” 18 U.S.C. § 3161(h)(1)(J), and certain reasonable

periods of delay attributable to a co-defendant, 18 U.S.C. § 3161(h)(7). The Court may also

exclude delay “resulting from a continuance granted by any judge, . . . if the judge granted

such continuance on the basis of his findings that the ends of justice served by taking such

action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

§ 3161(h)(8); see United States v. Stephens, 489 F.3d 647, 652 (5th Cir. 2007).

       The initial indictment against Peralta-Ramirez and his co-defendants is dated April

15, 2004. Trial commenced with jury selection on October 13, 2004. Between the date of

the indictment and the beginning of the trial, Peralta-Ramirez and his co-defendants filed

numerous pre-trial motions, including a motion to suppress, which delayed the start of trial

and tolled the speedy trial clock. See United States v. Green, 508 F.3d 195, 199 (5th Cir.

2007) (discussing types of delay resulting from pretrial motions, which are excluded under

the Speedy Trial Act), cert. denied, — U.S. —, 128 S. Ct. 2871 (2008). For example, at a

pretrial hearing on June 1, 2004, the Court noted that one of Peralta-Ramirez’s co-defendants

required the appointment of new counsel. (Doc. # 64). At a hearing on June 30, 2004, the

Court also noted that appointment of counsel was needed for material witnesses who were

being detained prior to trial. In that hearing, the Court concluded that the ends of justice

warranted a finding of excludable delay that commenced on June 1, 2004, continuing until

trial, because of the time required to complete this process. (Doc. # 69). Under these

circumstances, Peralta-Ramirez fails to establish a violation of the Speedy Trial Act. See

Zedner, 547 U.S. at 500 (“Among the factors that a district court must consider in deciding

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whether to grant an ends-of-justice continuance are a defendant’s need for ‘reasonable time

to obtain counsel’ . . . .”).

        Peralta-Ramirez also complains that the government filed a superseding indictment

on September 2, 2004, outside of the time period provided in the Speedy Trial Act. (Doc.

# 108). To the extent Peralta-Ramirez complains that the Government impermissibly delayed

filing the superseding indictment against him, the Court notes that filing a superseding

indictment more than 30 days after an earlier indictment, which was predicated on the same

acts as the original charging instrument, does not violate the Speedy Trial Act. See United

States v. Perez, 217 F.3d 323, 329 (5th Cir. 2000) (citing United States v. Castellano, 848

F.2d 63, 65 (5th Cir. 1988)). Accordingly, Peralta-Ramirez fails to establish a violation of

the Speedy Trial Act on these grounds or to show that he is entitled to any relief under 28

U.S.C. § 2255.

IV.     MOTION FOR RECONSIDERATION

        Peralta-Ramirez seeks reconsideration of the Court’s decisions denying him a free

copy of his “complete criminal file.”8 That decision has been affirmed on appeal and is not

properly the subject of a motion for reconsideration. See United States v. Peralta-Ramirez,

266 F. App’x 360 (5th Cir. 2008). To the extent Peralta-Ramirez renews his request for free

copies, he fails to allege specific facts showing that copies of court documents are needed to

support his claims. Accordingly, his request is denied.



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        See Order of March 14, 2007 (Doc. # 402); Order of April 11, 2007 (Doc. # 404).

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V.      REQUEST FOR EVIDENTIARY HEARING

        Peralta-Ramirez has also requested an evidentiary hearing on his § 2255 motion. A

motion brought under 28 U.S.C. § 2255 may be denied without a hearing if the motion, the

files, and the records of the case conclusively show that the petitioner is entitled to no relief.

See United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992) (per curiam) (citing

United States v. Auten, 632 F.2d 478 (5th Cir. 1980)). In this case, the record is adequate to

dispose fairly of the allegations made by Peralta-Ramirez. A district court need inquire no

further on collateral review. Therefore, Peralta-Ramirez’s request for an evidentiary hearing

is denied.

VI.     CERTIFICATE OF APPEALABILITY

        The pending motion under 28 U.S.C. § 2255 motion is governed by the Antiterrorism

and Effective Death Penalty Act of 1996 (“AEDPA”), Pub. L. No. 104-132, 110 Stat. 1214,

codified as amended at 28 U.S.C. § 2253. Thus, a certificate of appealability (“COA”) is

required before an appeal may proceed. See Hallmark v. Johnson, 118 F.3d 1073, 1076 (5th

Cir.1997) (noting that actions filed under either 28 U.S.C. § 2254 or § 2255 require a

certificate of appealability). “This is a jurisdictional prerequisite because the COA statute

mandates that ‘[u]nless a circuit justice or judge issues a certificate of appealability, an

appeal may not be taken to the court of appeals . . . .’” Miller-El v. Cockrell, 537 U.S. 322,

336 (2003) (citing 28 U.S.C. § 2253(c)(1)).

        A certificate of appealability will not issue unless the petitioner makes “a substantial

showing of the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2), which requires a

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petitioner to demonstrate “that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Tennard v. Dretke, 542 U.S. 274, 282

(2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)). Under the controlling

standard, this requires a petitioner to show “that reasonable jurists could debate whether (or,

for that matter, agree that) the petition should have been resolved in a different manner or

that the issues presented were adequate to deserve encouragement to proceed further.”

Miller-El, 537 U.S. at 336 (internal quotation omitted). Where denial of relief is based on

procedural grounds, the petitioner must show not only that “jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional right,” but

also that they “would find it debatable whether the district court was correct in its procedural

ruling.” Slack, 529 U.S. at 484.

       A district court may deny a certificate of appealability, sua sponte, without requiring

further briefing or argument. See Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000).

After carefully considering the entire record of the criminal proceeding, the Court concludes

that jurists of reason would not debate whether the movant has stated a valid claim or

whether any procedural ruling in this case was correct. Accordingly, a certificate of

appealability will not issue.

VII.   CONCLUSION

       Because the defendant has failed to establish an error of constitutional or jurisdictional

magnitude, he is not entitled to relief under 28 U.S.C. § 2255. Accordingly, the Court

ORDERS as follows:

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      1.     The government’s motion to dismiss (Doc. # 450) is GRANTED.

      2.     The defendant’s motion to vacate, set aside, or correct sentence under 28

             U.S.C. § 2255 (Doc. # 437) is DENIED and the corresponding civil action (H-

             07-4582) is DISMISSED with prejudice.            The defendant’s motion for

             reconsideration of his request for a free copy of his “complete criminal file”

             (Doc. # 448) is also DENIED.

      3.     A certificate of appealability is DENIED.

      The Clerk will provide a copy of this order to the parties and will file a copy of this

order in the corresponding civil case (Civil Action No. H-07-4582).

      SIGNED at Houston, Texas, on October 16, 2008.




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